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                    IN THE UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE


In re:                                   )
                                         ) Chapter 11
CHRISTMAS TREE SHOPS, LLC, et al.1,      )
                                         ) Case No. 23-10576 (TMH)
 Debtors.                                )
________________________________________ )


                                 NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that, M. Claire McCudden, Esquire hereby enters her

appearance on behalf of Turtle Rock, LLC, and CTS Fiduciary, LLC, as Trustee of Bridge Realty

Trust.


                                                MARSHALL DENNEHEY WARNER
                                                 COLEMAN & GOGGIN

                                                /s/ M. Claire McCudden
                                              M. Claire McCudden (#5036)
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                                              Attorneys for Turtle Rock, LLC, and CTS Fiduciary,
                                              LLC, as Trustee of Bridge Realty Trust

DATED: May 22, 2023




1 Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax

identification number are as follows: Christmas Tree Shops, LLC (1207), Handil Holdings, LLC
(2891), Salkovitz Family Trust 2, LLC (8773) Handil, LLC (1150), and Nantucket Distributing
Co, LLC (1640). The notice address for the Debtors is 64 Leona Drive, Middleboro,
Massachusetts 02346.
